                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                         CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
          Plaintiff,                                  Case No. 24-cr-70-CJW
 vs.
                                                 ORDER CONTINUING TRIAL
 SHANE ROBERT MCDOWELL,
               Defendant.
                                ____________________

      Before the Court is Defendant’s Motion to Continue Trial and Reset Deadlines
(Unresisted). (Doc. 44.) Trial is currently scheduled for February 3, 2025. The
Government does not resist this motion.
      “District courts are afforded broad discretion when ruling on requests for
continuances, but [c]ontinuances generally are not favored and should be granted only
when the party requesting one has shown a compelling reason.” United States v. Jirak,
728 F.3d 806, 815 (8th Cir. 2013) (quoting United States v. Cotroneo, 89 F.3d 510, 514
(8th Cir. 1996)) (internal quotes omitted).      “In determining whether to grant a
continuance, the trial judge must balance the asserted need for the continuance against
the hardship of the resulting delay, and should also consider the complexity of the case,
the diligence of the party requesting a continuance, and the conduct of the opposing
party.” United States v. Farlee, 757 F.3d 810, 821 (8th Cir. 2014), cert. denied, 135 S.
Ct. 504 (2014) (citing United States v. Coronel–Quintana, 752 F.2d 1284, 1287–88 (8th
Cir. 1985)).   When balancing the foregoing factors, the court may also consider:
“whether a delay will seriously disadvantage either party,” potential prejudice to
Defendant, and how the continuance weighs against Defendant’s interest in a speedy trial.
See Speedy Trial Act of 1974, 18 U.S.C. § 3161(h)(1)-(7) (2016) (stating when a



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continuance is “excludable” from the time allotted for a Speedy Trial); see also United
States v. Moe, 536 F.3d 825, 831 (8th Cir. 2008); United States v. Roberts, 787 F.3d
1204, 1212 (8th Cir. 2015); United States v. Dunn, 723 F.3d 919, 928 (8th Cir. 2013).
“Because this balancing requires familiarity with the parties and particular circumstances
of the case, the trial court retains broad discretion to grant a continuance.” Farlee, 757
F.3d 810 at 821 (citing Morris v. Slappy, 461 U.S. 1, 11, (1983)).
       In the instant case, the Court finds the reasons advanced by Defendant for the
continuance serve the ends of justice and outweigh the interests of the public and
Defendant’s right to a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). Accordingly, for
good cause shown, the motion to continue trial is granted. The trial of this cause
scheduled for February 3, 2025, is hereby continued to commence during the two-
week period beginning on March 31, 2025.1 The pretrial motions deadline is not
continued. Further, for the reasons set forth above, the time from the date of the motion
to the time of trial is excluded for purposes of the Speedy Trial Act. Id.
       IT IS SO ORDERED this 8th day of January, 2025.




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 The time frames and plea hearing deadline requirements established in the trial management
order at Doc. 12 continue to govern this case, but now with the new trial date scheduled to
commence during the two-week period beginning March 31, 2025, substituted, the time frames
now attach to the new trial date scheduled.


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